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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


    MAINE LOBSTERMEN’S
    ASSOCIATION,
                                                        Case No. 1:21-cv-2509-JEB
       Plaintiff,

          v.

    NATIONAL MARINE FISHERIES
    SERVICE, et al.,

      Federal Defendants,

          and

    CENTER FOR BIOLOGICAL
    DIVERSITY, et al.,

      Defendant-Intervenors.


                        JOINT PROPOSED BRIEFING SCHEDULE

       Pursuant to the Court’s December 6, 2021 Minute Order, the Parties have conferred and

propose the following joint briefing schedule for the above-captioned matter:

      (a) December 23, 2021: Deadline for filing of any additional motions to intervene;
      (b) January 14, 2022: The Federal Defendants shall lodge and serve the Administrative
          Record;
      (c) February 22, 20221: Plaintiff shall file its motion for summary judgment;
      (d) April 13, 2022: The Federal Defendants and Defendant-Intervenors shall file their
          respective responses to the Plaintiff’s motion for summary judgment and cross-
          motions for summary judgment;




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  Any motions to augment or supplement the Administrative Record must be filed on this date. If
any such motions are filed, then the Plaintiff’s motion for summary judgment will be due one
week after either (i) the Administrative Record motion is denied, or (ii) the Federal Defendants
lodge and serve any Supplemental Administrative Record that the Court orders it to produce.
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   (e) May 13, 2022: Plaintiff shall file its combined response to the Defendants’ cross-
       motions for summary judgment, and reply in support of its motion for summary
       judgment;
   (f) June 10, 2022: Federal Defendants and Defendant-Intervenors shall file their replies in
       support of their cross-motions for summary judgment;
   (g) June 24, 2022: The Parties’ joint appendix shall be filed.


DATED:      December 15, 2021             Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such to the attorneys

of record.

                                      /s/ Taylor Mayhall
                                        Taylor Mayhall




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